           Case 1:22-cv-10195-ALC Document 44 Filed 12/01/23 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 EUGENE VOLOKH, RUMBLE CANADA
 INC., and LOCALS TECHNOLOGY INC.,

                              Plaintiffs,              Civil Action No.: 1:22-cv-10195-ALC
          v.

 LETITIA JAMES, in her official capacity as                NOTICE OF MOTION AND
 New York Attorney General,                                 MOTION TO ENFORCE
                                                          PRELIMINARY INJUNCTION
                                                                  ORDER
                             Defendant.
                                                    Date: January 8, 2024
                                                    Time: 8:30 AM
                                                    Place: Courtroom 1306
                                                    Judge: The Honorable Andrew L.
                                                    Carter



         PLEASE TAKE NOTICE that as provided by Fed R. Civ. P. 27 and as ordered by this

Court, ECF NO. 41, Plaintiffs Eugene Volokh, Rumble Canada Inc., and Locals Technology

Inc., respectfully move for an order enforcing the Court’s Preliminary Injunction Order dated

February 14, 2023 and for such other and further relief as the Court deems just and proper.

Plaintiffs motion will be heard on January 8, 2024, or as soon as counsel may be heard, at United

States District Court for the Southern District of New York, 40 Foley Square New York, NY

10007.

         This motion is necessary to halt New York’s ongoing and future law enforcement

investigations of “hateful” speech under the State’s enjoined Online Hate Speech Law. [cite to

law.] On October 12, 2023, Defendant New York Attorney General Letitia James sent

investigation letters to six social media networks, including Plaintiff Rumble Canada, Inc. The




                                                1
         Case 1:22-cv-10195-ALC Document 44 Filed 12/01/23 Page 2 of 3




letters demanded that the networks provide detailed descriptions of their policies, practices,

methods, and actions, as well as documents related thereto, showing how they address hate

speech on their platforms—the exact subject matter the Online Hate Speech Law authorizes the

Attorney General to investigate.1

       As explained in the accompanying Memorandum of Law in Support of Plaintiffs’ Motion

to Enforce the Preliminary Injunction, the investigation letters violate this Court’s February 14,

2023 order. Therefore, an order enforcing the preliminary injunction is necessary to halt

Defendant’s ongoing violations and prevent future violations of the order.



Respectfully Submitted,

Date: December 1, 2023


/s/ Daniel M. Ortner
 DANIEL M. ORTNER*
 (California State Bar No. 329866)
 JAMES M. DIAZ*
 (Vermont Bar No. 5014)                              BARRY N. COVERT
 FOUNDATION FOR INDIVIDUAL RIGHTS AND                (N.Y. Bar No. 27118)
 EXPRESSION                                          LIPSITZ GREEN SCIME CAMBRIA LLP
 510 Walnut St., Suite 1250                          42 Delaware Ave., Suite 120
 Philadelphia, PA 19106                              Buffalo, NY 14202
 Telephone: (215) 717-3473                           Tel: (716) 849-1333 x 365
 daniel.ortner@thefire.org                           bcovert@lglaw.com
 jay.diaz@thefire.org

 Attorneys for Plaintiff
 *Admitted Pro Hac Vice




   1
    The Attorney General’s letter is included as Exhibit A to the accompanying Declaration of
Daniel Ortner in support of this motion .


                                                 2
         Case 1:22-cv-10195-ALC Document 44 Filed 12/01/23 Page 3 of 3

                                                                         Attorney Work Product
                                                                        Attorney-Client Privilege
                                                                    DRAFT of November 29, 2023

                                 CERTIFICATE OF SERVICE

       Plaintiffs’ counsel confirms that a true and correct copy of the foregoing was served via

the Court’s electronic filing system on this day, December 1, 2023. Notice of this filing will be

sent by operation of the Court’s electronic filing system.


DATED: December 1, 2023

Respectfully submitted,

/s/ Daniel M. Ortner
 DANIEL M. ORTNER*
 (California State Bar No. 329866)
 JAMES M. DIAZ*
 (Vermont Bar No. 5014)                              BARRY N. COVERT
 FOUNDATION FOR INDIVIDUAL RIGHTS AND                (N.Y. Bar No. 27118)
 EXPRESSION                                          LIPSITZ GREEN SCIME CAMBRIA LLP
 510 Walnut St., Suite 1250                          42 Delaware Ave., Suite 120
 Philadelphia, PA 19106                              Buffalo, NY 14202
 Telephone: (215) 717-3473                           Tel: (716) 849-1333 x 365
 daniel.ortner@thefire.org                           bcovert@lglaw.com
 jay.diaz@thefire.org

 Attorneys for Plaintiff
 *Admitted Pro Hac Vice




                                                 3
